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                                   Case No. 22-2289

              United States Court of Appeals
                                        for the

                               Third Circuit
                               _________________________

                     WINN-DIXIE STORES, INC.; BI-LO HOLDINGS, LLC,
                                                        Appellants
                                           – v. –
        EASTERN MUSHROOM MARKETING COOPERATIVE, INC.; ROBERT A.
         FERANTO, JR., t/a Bella Mushroom Farms; BROWNSTONE MUSHROOM
              FARMS, INC.; TO-JO FRESH MUSHROOMS, INC.; CARDILE
          MUSHROOMS, INC.; CARDILE BROS. MUSHROOMS PACKAGING;
           COUNTRY FRESH MUSHROOM CO.; FOREST MUSHROOM, INC.;
       FRANKLIN FARMS, INC.; GINO GASPARI & SONS, INC.; GASPARI BROS.
       INC.; GIORGI MUSHROOM COMPANY; GIORGIO FOODS, INC.; KAOLIN
       MUSHROOM FARMS, INC.; SOUTH MILL MUSHROOM SALES, INC.; LRP
         MUSHROOMS INC.; LRP-M MUSHROOMS LLC; LEONE PIZZINI AND
           SON, INC.; MODERN MUSHROOMS FARMS, INC.; SHER-ROCKEE
         MUSHROOM FARM; C & C CARRIAGE MUSHROOM CO.; OAKSHIRE
            MUSHROOM FARM, INC.; PHILLIPS MUSHROOM FARMS, INC.;
         HARVEST FRESH FARMS, INC.; LOUIS M. MARSON, JR., INC.; MARIO
            CUTONE MUSHROOM CO., INC.; M.D. BASCIANI & SONS, INC.;
           MONTEREY MUSHROOMS, INC.; MASHA & TOTO, INC., t/a M&T
         Mushrooms; W & P MUSHROOM, INC.; MUSHROOM ALLIANCE, INC.;
             CREEKSIDE MUSHROOMS LTD; J-M FARMS, INC.; UNITED
         MUSHROOM FARMS COOPERATIVE, INC.; JOHN PIA; MICHAEL PIA.
                                 _____________________

ON APPEAL FROM FINAL JUDGMENT ENTERED BY THE UNITED STATES DISTRICT
          COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 _____________________

                               APPELLEES’ BRIEF
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                     COUNTER STATEMENT OF ISSUES AND
                   STANDARD OF REVIEW AS TO EACH ISSUE

1. Whether Winn-Dixie waived or failed to preserve any of the following

    arguments.

      (a) The jury’s answers to Verdict Form Question 2 (participation in the

            overarching conspiracy) (“Question 2”) and/or Verdict Form

            Question 4 (anticompetitive effects of the overarching conspiracy)

            (“Question 4”) were not supported by the evidence presented at trial.

Improperly raised below by Winn-Dixie’s Rule 59 motion. A2787.

      (b) The jury’s answers to Question 2 were inconsistent with the general

            verdict in favor of all remaining defendants and with the jury’s “yes”

            answer to Question 1 (existence of the single overarching conspiracy).

Improperly raised below by Winn-Dixie’s Rule 59 motion. A2787.

      (c) Either because of confusion or intentionally, the jury did not follow

            the District Court’s instructions as to Questions 2 and 4.

Improperly raised below by Winn-Dixie’s Rule 59 motion. A2787.

      (d) The District Court erred by denying Winn-Dixie’s pre-trial motion to

            apply the Quick Look mode of rule of reason antitrust analysis to the

            alleged overarching Sherman Act Conspiracy.



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                    STANDARD OF REVIEW AS TO ISSUE NO. 1
       As to Issues 1(a) and 1(c). The failure of a party to move for judgment as a

matter of law at the close of all evidence at trial under Rule 50(a) before the jury

retired to deliberate, wholly waives the right to mount any post trial attack on the

sufficiency of the evidence, whether under Rule 50(b) or Rule 59. Greenleaf v.

Garlock, Inc., 172 F.3d 352, 364 (3d Cir. 1999); Yohannon v. Keene Corp., 924 F2d

1255, 1262 (3d Cir. 1991).

       As to Issue 1(b). Motions for a new trial grounded on allegedly inconsistent

findings made by the jury pursuant to written questions must be preserved by raising

the issue of inconsistency before the jury is dismissed. Frank C. Pollara Group,

LLC v. Ocean View Investment Holding, LLC, 784 F.3d 177, 191 (3d Cir. 2015).

       As to Issue 1(d). Where pre-trial rulings involve mixed questions of law and

fact, they are interlocutory in nature and are superseded by the evidence adduced at

trial. Thus, the movant must preserve its argument for appeal pursuant to Rule 50(a)

and (b) in order to give the court an opportunity to review its pre-trial decision in

light of a complete factual record. Ortiz v. Jordan, 562 U.S. 180 (2011); Frank C.

Pollara Group LLC, 784 F.3d at 185-87. The proponent of a specific mode of

antitrust analysis forfeits its right to seek appellate review of a jury instruction

inconsistent with the requested mode of analysis unless it objects and assigns error

to the inconsistent jury instruction under Fed. R. Civ. P. 51(c) and (d) unless the

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appeals court finds that it was plain error to give the instruction. Fed. R. Civ. P. 51(c)

(d); Neely v. Club Med Management Services, Inc. F.3d 166, 199-200 (3d Cir. 1995).

2. Whether the District Court properly exercised its discretion in denying

    Winn-Dixie’s post trial motion under Fed. R. Civ. P. 59 where:

      (a) The jury’s answers to Verdict Form Question 2 (participation in the

            overarching conspiracy) (“Question 2”) and/or Verdict Form

            Question 4 (anticompetitive effects of the overarching conspiracy)

            (“Question 4”) were supported by the substantial evidence presented

            at trial.*

Raised below by Winn-Dixie’s Rule 59 motion. A2787.

      (b) The jury’s answers to Question 2 were consistent with the general

            verdict in favor of all remaining defendants and with the jury’s finding

            as to Question 1 that there was an overarching conspiracy.

Raised below by Winn-Dixie’s Rule 59 motion. A2787.

      (c) There is no evidence supporting Winn Dixie’s claim that the jury

            failed to follow the District Courts instructions relevant to Verdict

            Form Questions 2 and 4.

Raised below by Winn-Dixie’s Rule 59 motion. A2787.


* The Verdict Form (A2498) is also attached hereto as Addendum 1 for the Court’s
convenient reference.

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                    STANDARD OF REVIEW AS TO ISSUE NO. 2
       This Court reviews a District Court’s resolution of a motion for a new trial

under Rule 59 for abuse of discretion. The decision to grant or deny a motion for a

new trial is within the sound discretion of the trial court. Williamson v. Consol. Rail

Corp., 926 F.2d 1344, 1353 (3d Cir. 1991). “[N]ew trials because the verdict is

against the weight of the evidence are proper only were the record shows that the

jury’s verdict resulted in a miscarriage of justice, or where the verdict, on the record,

cries out to be overturned, or shocks our conscience.” Id. at 1353. Motions for a

new trial grounded on the weight of the evidence are disfavored as they invade the

province of the jury granted by the Seventh Amendment. Id at 1348. Considerable

deference is given to the District Court’s denial of a motion for new trial based on

the weight of the evidence as the trial judge observes the witnesses and follows the

trial in a way that cannot be replicated by reviewing a cold record. Williamson,

926 F.2d at 1353 (citing Roebuck v. Drexel Univ., 852 F. 2d 715, 735 (3d Cir.

1988)).




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3. Whether the District Court erred by denying Winn-Dixie’s pre-trial motion

    to apply the Quick Look mode of rule of reason antitrust analysis to the

    alleged overarching Sherman Act Conspiracy.

Raised but improperly preserved below by Winn-Dixie’s pre-trial motion for the

application of the Quick-Look rule of reason analysis to the alleged overarching

Sherman Act conspiracy A16-17

                    STANDARD OF REVIEW AS TO ISSUE NO. 3
       The District Court’s selection of a mode of antitrust analysis is a question of

law over which this Court exercises plenary review. Deutscher Tennis Bund v. ATP

Tour, Inc. 610 F.3d 820, at n.7 (citing Arizona v. Maricopa County Med. Soc’y,

437 U.S. 332, 337, n.3 (1982). However, the district’s court’s factual findings on a

pre-trial motion regarding the mode of antitrust analysis are subject to a clearly

erroneous standard of review. See Government Employees Retirement System of

Virgin Islands v. Government of Virgin Islands, 995 F.3d 66, 78 (3d Cir. 2021)

(citing U.S. Bank Nat. Ass’n ex rel. CW Capital Asset Management LLC v. Village

at Lakeridge, LLC, 138 S. Ct. 960, 967-69 (2018)).




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4. Whether the District Court erred in admitting evidence pertaining to the

    defendants’ size, profitability or financial condition as relevant to issues

    other than whether the alleged overarching conspiracy involved certain

    pro-competitive benefits. If so, whether defendants’ counsel engaged in

    misconduct by eliciting this evidence and whether it was reasonably

    probable that the jury’s verdict was influenced by the alleged misconduct.

Improperly raised below by Winn-Dixie’s after-the-fact objections to the admission

of the evidence relevant to financial condition of defendants during trial. A301- 02,

A1013-16 and A2248-50.

                    STANDARD OF REVIEW AS TO ISSUE NO. 4
       Evidentiary rulings by the District Court are reviewed under an abuse of

discretion standard. If the Court finds that the District Court abused its discretion in

admitting the evidence at issue, the Court then reviews the trial transcript to

determine whether there was misconduct by counsel in eliciting the evidence,

whether the admission of the evidence unfairly prejudiced the objecting party, and

whether it was reasonably probable that the jury’s verdict was influenced by

admission of the evidence at issue. Greenleaf, 174 F. 3d 352 at 363-64.




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                             STATEMENT OF RELATED CASES
       This appeal is related to three other cases involving the same defendants in

the United States District Court for the Eastern District Pennsylvania: 1) In re

Mushroom Direct Purchaser Antitrust Litigation, EDPA Dkt. No. 06-cv-00620; 2)

Publix Super Markets, Inc. v. EMMC, et al., EDPA Dkt. No. 06-cv-00932 and 3)

Giant Eagle, Inc. v. EMMC, et al., EDPA Dkt. No. 06-cv-03523. As noted in

Appellant’s Statement of Related Cases, Appeals to this Court from interlocutory

orders by the District Court in In re Mushroom Direct Purchaser Antitrust

Litigation, were docketed in this Court at: 09-2257 and 09-2258; 14-8134 and

14-8135; 16-8079 and 16-8080 and 19-2114. However, the Court declined to reach

the merits of these Appeals, and Case No. 19-2114 was withdrawn.




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                       COUNTER STATEMENT OF THE CASE
       In late 2015, Winn-Dixie Stores Inc. (“Winn-Dixie ”)—a grocery chain

headquartered in Florida, operating about 500 supermarkets in Florida and a few

other Southeastern States, (along with its affiliate Bi-Lo Holdings LLC. “Bi-Lo”)—

filed a Complaint in the District Court for the Eastern District of Pennsylvania. A35

at Dkt. No. 1. The Complaint was essentially a carbon copy of a Consolidated

Amended Class Action Complaint against the same defendants filed in the District

Court in 2007 in In re Mushroom Direct Purchaser Antitrust Litigation which itself

had been consolidated for pretrial and trial purposes with individual Complaints filed

by two other large supermarket chains stores, Publix Supermarkets, Inc. and Giant

Eagle, Inc. A42 at Dkt. No. 66.

       Since Winn-Dixie and Bi-Lo alleged that they had purchased mushrooms

directly from one or more of the defendants during the time period at issue

(2001-2008), they appeared to be members of the putative class. Thus, the District

Court denied defendants’ motions to dismiss the complaint with leave to re-file these

motions if and when Winn-Dixie and Bi-Lo exercised their rights to opt out of the

Class Action. A41 at Dkt. No. 62. The District Court certified a class of direct

purchasers in 2016. See In re Mushroom Direct Purchaser Class Litig., 319 F.R.D.

158 (E.D. Pa. 2016). Thereafter, Winn-Dixie and Bi-Lo opted out of the Class

Action.

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The District Court dismissed their 2015 complaint with leave to file an amended

complaint. A44 at Dkt. No. 88. In early 2019, Winn-Dixie filed an Amended

Complaint against the same defendants making essentially the same allegations. The

2019 Amended Complaint alleged that the Eastern Mushroom Marketing

Cooperative (“EMMC”) engaged in a single overarching conspiracy with its member

mushroom growers and their downstream packaging and distribution companies,

between 2001 and 2008, in violation of §1 of the Sherman Act, to raise, fix, stabilize

or maintain prices for agaricus (common white or brown) mushrooms by:

1) circulating minimum price lists along with rules and regulations requiring the

member companies to uniformly charge those prices to all customers; and

2) acquiring various closed or bankrupt mushroom farms and then selling the

underlying real estate with deed restrictions precluding their future use as mushroom

farms in order to reduce the overall supply of agaricus mushrooms. These activities

had been referred to by the EMMC respectively as the Minimum Pricing Policy and

Supply Control Program. See Amended Complaint A45 at Dkt. No. 96.1




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  The Amended Complaint also alleged that the Supply Control Program
constituted an attempt to monopolize the market for agaricus mushrooms in
violation of §2 of the Sherman Act and/or violated §7 of the Clayton Act
precluding acquisitions that substantially lessen competition or create a monopoly.
Prior to trial, Winn-Dixie dropped these claims—as had the Class and Opt-Out
Plaintiffs—and proceeded to trial only on its claims under §1 of the Sherman Act.

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       While it was originally contemplated by the District Court that the antitrust

claims made by all Plaintiffs would be tried jointly, the District Court severed these

cases for trial purposes, with the Class Action scheduled for trial in May 2019 and

the claims by Publix and Giant Eagle scheduled for trial in March 2020. Initially

delayed by the COVID Pandemic, Winn-Dixie’s trial began on February 28, 2022.2

       Prior to trial, the parties filed several pre-trial motions styled as motions in

limine. The District Court resolved these pre-trial motions by Omnibus Order dated

February 10, 2022. A12-19. The District Court’s ruling on three of these pre-trial

motions are relevant to this appeal. Foremost, Winn-Dixie filed a motion requesting

a ruling that as a matter of law, the District Court should apply the so called Quick




2
  As discussed in Appellee’s Motion docketed in this case at No. 27, the District
Court dismissed Winn-Dixie’s and Bi-Lo’s claims against several defendants prior
to trial. Moreover, Winn Dixie’s claims against several other defendants were
dismissed at trial pursuant to largely uncontested Rule 50 motions. These
dismissals left only 16 of the original defendants for inclusion on the Verdict Form
prepared by the District Court (A2498 et. seq.) to which Winn Dixie did not object.
A2298. In addition, the District Court dismissed Bi-Lo’s claims for money
damages by Order of September 1, 2020 (A67 at Dkt. No. 299) but left standing
Bi-Lo’s claim for injunctive relief (to require defendants to take affirmative steps
to dissipate the continuing effects of their unlawful conduct). See Amended
Complaint, Dkt. No. 96 at p. 142. However, this request for equitable relief had
already been mooted by Winn-Dixie’s and Bi-Lo’s expert report finding that
damages in the form of “overcharges” did not extend beyond 2010. In any event,
Bi-Lo essentially disappeared as a plaintiff in this case following the court’s Order
of Sept. 1, 2020, and Winn-Dixie proceeded to trial without Bi-Lo and its identical
claim for equitable relief.

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Look mode of rule of reason analysis to the EMMC’s minimum pricing policy.

This motion involved mixed questions of law and fact more akin to a pre-trial motion

for summary judgment rather than a traditional in limine motion. See A16 – 17.

Winn-Dixie did not renew this motion by making a Rule 50 motion at trial.

Moreover, Winn-Dixie did not object to the jury instruction given by the court

pursuant to the so called “full blown” rule of reason analysis.

       Second, defendants filed an in limine motion requesting the court to

reconsider a previous in limine ruling in the Publix/Giant Eagle precluding argument

that increased producer prices, increased producer profits, decreased producer losses

or helping firms stay in operation, constitute pro-competitive benefits. The District

Court declined to reconsider its earlier ruling and, therefore, the defendants were

precluded      from      arguing   that   the    above-mentioned   consequences     were

pro-competitive benefits at trial. See A16 at No. 6.

       Third—and not discussed by Winn-Dixie in its opening brief—the District

Court denied Winn-Dixie’s motion in limine to preclude evidence of the defendants’

size, profitability or financial condition for purposes other than arguing that

Winn-Dixie is not entitled to judgment in this case. A18 at No. 10.

       Prior to trial, the parties submitted a Joint Stipulation regarding the issues and

arguments to be presented at trial.              This Joint Stipulation was limited to

Winn-Dixie’s claims under §1 of the Sherman Act. See A83 at Dkt. No. 424.

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        Trial of Winn-Dixie’s §1 overarching conspiracy claim began with jury

selection on February 28, 2022 and continued for 15 trial days, ending on March 22,

2022.

        Winn-Dixie’s case-in-chief included 13 fact witnesses, all of whom were

corporate representatives of the defendants. These witnesses were followed by fact

and opinion testimony by an Expert Ph.D. economist, Keith Leffler, who discussed

the essential elements of Winn-Dixie’s Sherman Act claims, and, pursuant to a

regression model, opined that Winn-Dixie experienced “overcharges” for

mushrooms is purchased between 2001 and 2010 that it would not have incurred

“but for” the EMMC’s minimum pricing policy.            See A1591.      Significantly,

Dr. Leffler did not attribute any of the overcharges in the relevant geographic market

to the EMMC’s Supply Control Program, which involved the acquisition of bankrupt

mushroom farms and subsequent sale of the underlying deed restricted real estate.

See A1598-99. The Supply Control Program was the second prong of the alleged

overarching conspiracy claimed by Winn-Dixie to have violated §1 of the Sherman

Act.

        Defendants’ case-in-chief included live testimony from 5 representatives of

defendant mushroom farmers and deposition excerpts from two mushroom growers

who were former EMMC members. Defendants’ Expert, Jesse David, a Ph.D.

economist and econometrician, was called as a witness following that testimony.

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Dr. David discussed market conditions in the relevant geographic market. He

testified that there was substantial empirical evidence showing that the remaining

defendants in this case, including the EMMC, did not have sufficient market power

to impose a sustained price increase in the relevant geographic market.           See

A1954-55, 1957.

       Moreover, all of the corporate representatives of the remaining defendants

testified that the rules and regulations embodied in the EMMC’s minimum pricing

policy were not consistently followed for several reasons including:            EMMC

members invoked certain exceptions to the minimum price rules; were forced to

charge prices below the minimums by competition from Canadian and other growers

who never joined the EMMC; or the numerous EMMC members who resigned

beginning shortly after the EMMC was formed. Moreover, EMMC member

companies frequently gained and lost customers to each other based on price

competition and finally in 2005 the EMMC suspended and abandoned the minimum

pricing policy because it was ineffective. A597-98.3



3
  See also A562 (the EMMC members realized they could not control the entire
market), A571 (Canadian mushrooms were sold throughout the entire U.S.),
A597-98 (minimum pricing was suspended in 2005 as it was largely ineffective;
growers did not “have the power to market the product against the buying power of
the purchasers”), A604-05 (explaining that pre-existing contracts, the
meet-not-beat policy, and permissibility issues eviscerated the minimum pricing
policy); A602-03 (the EMMC recognized that it was impossible to follow the
pricing policy); A625 (explaining that mushroom buyers had little control over the
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        At the close of all evidence, defendants made an oral Rule 50(a) motion to

dismiss Winn-Dixie’s claims against several defendant companies and individuals



grower’s pricing because of perishability); A1868-71 (Giorgi Mushroom Co.
gained and lost accounts to/from EMMC members); A1870-71 (there was
substantial price competition among EMMC members in the years prior to EMMC
suspension of minimum pricing policy); A1871 (price was the overwhelming
factor in competition), A1888-89 (explaining that minimum pricing could not be
followed because there was too much pressure to move product and you could not
afford to lose customers); A1441 (customer’s use of reverse auctions and customer
demand prevented adherence to the minimum pricing policy); A1441-42 (Modern
did not hesitate to charge below the minimum prices in order to gain a new
customer or keep an existing customer); A1446 (same); A1444-45 (members
resigned shortly after the EMMC was formed including Cutone, M&T, Kitchen
Pride, JM, the Mushroom Alliance and Creekside); A1452-53 (after the 2003-2005
time period, the EMMC continued to lose members including Modern, Basciani,
Monterey and Franklin); A454 (EMMC members did not comply with minimum
pricing), A471-73 (same); A474-75 (meet-not-beat exception allowed members to
price competitively, EMMC members competed among themselves and against
non-EMMC members); A488-89 (there was always competition within the
EMMC because of noncompliance issues, it was a “free-for-all”); A400
(discussing Canadian competition); A291 (no members followed the EMMC rules,
including his company); A309 (because of the industry’s competitive nature, there
were always people not complying with the minimum pricing); A402 (members
resigned because of non-compliance issues, members lost business to other EMMC
members); A403 (EMMC members undercut each other); A430 (mushroom
perishability incentivized EMMC members to not follow the minimum pricing
policy); A430-31 (meet-not-beat policy allowed members to price below the
minimum prices to maintain an account); A1203 (Gino Gaspari & Sons, Inc. lost
its two biggest customers to other EMMC members due to pricing); A670-71
(confirming that his company had no alternative but to commonly sell mushrooms
below the minimums); A1336 (minimum pricing was not relevant to
Mr. Schroeder’s business); A1221-1222 (explaining that while the EMMC
members may have initially consented to a certain pricing rule during EMMC
meetings, their consent soon fell apart. “[P]eople would literally call driving home
from the meeting saying, I just realized that [the pricing] doesn’t fit this scenario,
or that scenario, whatever the case may be.”.
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on whose behalf Winn-Dixie’s claims had not previously been dismissed. Without

objection, the District Court dismissed Winn-Dixie’s claims against Forrest

Mushrooms, Giorgio Foods, Gaspari Bros. Inc., Sher-Rockee Mushroom Farm,

John Pia and Michael Pia. A2156-57. Over Winn-Dixie’s objection, the District

Court dismissed all claims against Robert A. Feranto Jr. d/b/a Bella Mushroom

Farm. Winn-Dixie does not appeal from these orders. A2158-62.

       The District Court prepared written jury instructions adapted from proposed

instructions submitted by the parties along with a proposed Verdict Form. A 2498 et

seq.4 Notably, Winn-Dixie did not submit a proposed instruction premised on the

Quick Look Doctrine.          A86 at Dkt. No. 438.     Moreover, during the charge

conference Winn-Dixie did not object to the proposed jury instructions now at issue,




4
  The Verdict Form was adapted under Fed. R. Civ. P. 49(b) from those used at
two trials in the Eastern District of Pennsylvania involving alleged overarching
Sherman Act conspiracy claims against a different agricultural cooperative and its
member companies, In re Processed Egg Products Antitrust Litigation, Civil
Action No. 08-md-02002, in which judgments pursuant to general verdicts in
favor of defendants were affirmed on appeal. See In re Processed Egg Products
Antitrust Litigation, 962 F.3d 719 (3d Cir. 2020), In re Processed Egg Products
Antitrust Litigation, 850 Fed. Appx. 142 (3d Cir. 2021). As in the Egg Products
cases, the Verdict Form here contained written questions involving mixed issues of
fact and law and was tailored to address whether Plaintiff carried its burden of
proof on each element of Winn-Dixie’s claim under §1 of the Sherman Act. The
District Court charged the jury on the legal standards applicable to each element of
Plaintiff’s claim and instructed it to cease deliberations if it answered “no” to
Questions 1, 2 or 4. See Verdict at A2498-06 (copy attached as an addendum to
this Brief for the Court’s convenience).
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relating to: 1) whether defendants participated in the single overarching conspiracy

and 2) was the single overarching conspiracy anticompetitive. A2282, 2247. Nor

did Winn-Dixie object to any of the written questions on the proposed verdict form.

A2295, A2298. After the jury was charged, Winn-Dixie did not lodge an objection

to any of the instructions upon which its appeal is based. A2474-75 (at the

conclusion of the charge, no party lodged any objections).

       The jury was charged on the 15th trial day and after less than 3 hours of

deliberation, a unanimous 10 person jury returned a general verdict in favor of all

remaining defendants and against Winn-Dixie. In reaching its decision, the jury

answered 4 of the 7 written questions that sought a yes or no answer as to whether

or not Winn-Dixie carried its burden of proof on each element of a private claim

under §1 of the Sherman Act as evaluated under the rule of reason analysis. A2498.

After the return of the jury’s verdict form but before the jury was discharged,

Winn-Dixie did not raise any issue or argument pertaining to any of the jury’s

answers, including that the answers. Specifically, Winn-Dixie did not claim that the

jury’s answers were internally inconsistent or that the jury did not follow or was

confused by the District Court’s instructions as to Question 2 or Question 4. See

A2480-84.

       On March 23, 2022, the District Court entered judgment individually

pertaining to each of the questions the jury answered. A91 at Dkt. No. 494.     On

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April 7, 2022, the remaining defendants filed a motion to alter or amend the

judgment to reflect a general verdict in their favor and against Winn-Dixie. A92 at

Dkt. No. 498. On April 20, 2022, Winn-Dixie filed a motion for judgment

notwithstanding the verdict under Fed. R. Civ. P 50(b) and for a new trial under Fed.

R.Civ. P. 59. A92 (Dkt. No. 500).

       On June 13, 2022 the District Court entered an order and memorandum

denying Winn-Dixie’s post-trial motions and entering an amended judgement as

requested by defendants without opposition by Winn-Dixie. A92 at Dkt. No. 503.

       On July 13, 2022, Winn-Dixie filed a Notice of Appeal in the District Court.

The Notice of Appeal was also purportedly filed on behalf of Winn-Dixie’s affiliated

company, Bi-Lo. A1.

       As noted by the court in denying Winn-Dixie’s post-trial motions, Winn-Dixie

waived its ability to file a Rule 50(b) motion attacking the sufficiency of the

evidence because it failed to timely file a Rule 50(a) motion. A8-9. The court denied

Winn-Dixie’s Rule 59 motion, finding that the jury’s answer to Question 4 on the

Verdict Form was supported by substantial evidence, notwithstanding Winn-Dixie’s

argument that it adduced overwhelming evidence establishing that it satisfied the

anticompetitive prong under the rule of reason. In this regard the District Court

noted that “Plaintiff’s arguments do not rise beyond merely wishing that the jury

believed its side rather than defendant’s.” A10. The District Court further found

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that the jury’s answers to the written questions on the verdict form were not

inconsistent and that the jury followed the court’s instructions pertaining to the

participation and anticompetitive effect elements of a §1 Sherman Act claim. A9-10.

Winn-Dixie did not raise any arguments pertaining to the Quick Look Doctrine or

to admission of evidence in purported violation of a pre-trial ruling as to

pro-competitive benefits in its Rule 50(b) or Rule 59 motions. See A92 and Dkt.

Nos. 500 and 502.

       Winn Dixie filed its notice of appeal (A1) on July 13, 2022.




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                             SUMMARY OF ARGUMENT
       First, the Court need not reach the merits of Winn-Dixie’s arguments in

support of its’ Motion for a new trial under Rule 59 because: 1) Winn-Dixie waived

or failed to preserve its right to challenge the jury’s findings in response to Verdict

Form Questions 2 and 4 based on the weight of the evidence by not moving under

Fed. R. Civ. P. 50(a) before the jury retired to deliberate; and 2) Winn-Dixie did not

preserve its inconsistency or its failure to follow instructions arguments by making

these arguments before the jury was discharged.

       Even if Winn-Dixie had preserved these arguments, however, the District

Court properly exercised it discretion to deny Winn-Dixie’s Motion for a new trial

where 1) the jury’s answers to written Questions 2 and 4 on the Verdict Form were

supported by sufficient evidence; 2) these answers were internally consistent; 3)

the District Court’s instructions as to these questions were followed by the jury.

       Second, the Court need not reach the merits of Winn-Dixie’s argument

regarding its motion to apply the Quick Look rule of reason analysis because

Winn-Dixie failed to preserve an objection to the District Court’s pre-trial ruling by

1) making a Rule 50(a) motion addressing the Quick Look mode of analysis

following the close of the evidence at trial; or 2) not submitting a jury instruction

applicable to the Quick Look mode of analysis and not objecting to the instruction

actually given by the District Court under the traditional rule of reason mode of

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analysis rather than the Quick Look mode of analysis. Nevertheless, the District

Court correctly denied Winn-Dixie’s pre-trial motion for the application of the

Quick Look rule of reason analysis to the overarching Sherman Act conspiracy.

       Finally, the District Court properly exercised it discretion in admitting

evidence at trial pertaining to the defendants’ size, profitability or financial condition

for purposes other than establishing pro-competitive benefits. Further, the District

Court instructed the jury that the increased producer prices, increased producer

losses or helping farms stay in operation, could not be considered to be

pro-competitive.        Thus, defendants’ counsel did not engage in misconduct by

eliciting evidence pertaining to the defendants’ size, profitability, or financial

condition. Even if eliciting the permitted evidence can somehow be characterized

as misconduct, the jury’s verdict was not influenced by same, as the jury was

properly instructed as to the prohibited pro-competitive benefits and in any event,

did not have to reach the issue of procompetitive benefits in reaching its.5



5
  Winn-Dixie makes an additional argument that it does not include in its
Summary of Argument. See Appellant’s Opening Brief at pages 35 – 37.
Winn-Dixie argues that “[s]hould the Court consider entering a judgment [in
Winn-Dixie’s favor] notwithstanding the verdict it is important to note that there
were no cognizable pro-competitive benefits....” However, as noted by the District
Court, Winn-Dixie waived its right to file a Rule 50(b) motion on this issue by
failing to make a Rule 50(a) motion at the close of the evidence. A8-9. Since
Winn-Dixie did not properly preserve this argument below, this argument has not
been preserved for appellate review.

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                                     ARGUMENT

      I. WINN-DIXIE WAIVED OR FAILED TO PRESERVE ITS
         ARGUMENTS THAT THE DISTRICT COURT ABUSED ITS
         DISCRETION IN DENYING ITS RULE 59 MOTION FOR A NEW
         TRIAL, BUT EVEN IF THERE WERE NO WAIVER OR
         PRESERVATIN PROBLEMS WITH WINN-DIXIE’S ARGUMENTS,
         THE DISRICT COURT PROPERLY EXERCISED ITS DISCRETION
         IN DENYING WINN-DIXIE’S RULE 59 MOTION FOR A NEW
         TRIAL

       (A) Winn-Dixie Waived its Weight of the Evidence Argument as to
           Questions 2 and 4 on the Verdict Form by its Failure to Move for a
           Directed Verdict Under Fed. R. Civ. P. 50(a) before the Jury Retired
           to Deliberate.
       In this Circuit, a party “waives the right to mount any post-trial attack on the

sufficiency of the evidence” when it fails “to move for a directed verdict at the close

of all evidence.” Yohannon, 924 F.2d at 1262. Winn-Dixie failed to timely move

for a directed verdict (A8-9) and, therefore, “wholly waive[d]” the right to now assert

that the jury’s verdict relating to participation was against the weight of the evidence.

Id.

       In Greenleaf 174 F.3d at 365., an asbestos product liability case, the Court

acknowledged the Court’s precedential ruling in Yohannon, 934 F.3d at 364, but

carved out a narrow exception where there was substantial evidence of the absent

defendants’ liability to the Plaintiff as well as the cross claims asserted by the

defendants against the absent defendants. But the absent defendants put on

absolutely no countervailing evidence to support the jury’s verdict in their favor.

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Thus, the Greenleaf Court found plaintiffs’ evidence “overwhelming” only because

there was no contrary evidence presented by the absent defendants. Thus, the Court

excused the cross claimant’s failure to file a Rule 50(a) motion in order to address

the manifest injustice created by the jury’s verdict in favor of the absent defendants

on the defendants’ cross claims.      Here, by contrast, and as noted by the District

Court, (see A9-10), there was ample evidence presented at trial by the remaining

(who appeared at trial) to support the jury’s answers to written Questions 2 and 4 on

the Verdict Form. See e.g. supra at p. 13, n.3.

       Although Winn-Dixie repeatedly characterizes its evidence relevant to the

jury’s answers to Questions 2 and 4 as “overwhelming,” we submit that its Rule 59

motion for a new trial based on the weight of the evidence boils down to a classic

attack on the evidence underlying the jury’s response to Questions 2 and 4. In short,

Winn-Dixie argues that the jury’s decision on participation (Question 2) and

anticompetitive effects (Question 4) is not supported because a wealth of evidence

established that Defendants participated in the conspiracy and that the conspiracy

was anticompetitive. Under these circumstances Winn-Dixie was obligated to

timely move under Rule 50(a) to claim judgment be entered in its favor. It did not

do so, and, therefore waived the right to now claim entitlement to a new trial based

on its purported weight of the evidence challenge. Yohannon, 924 F.2d at 1262



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(noting, the failure to timely file a Rule 50 motion precludes “any post-trial attack

on the sufficiency of the evidence.”).

       (B) Even if Winn-Dixie’s Weight of the Evidence Argument was not
           waived, the Jury’s Findings as to Questions 2 and 4 Were Supported
           by Sufficient Evidence.
       Winn-Dixie’s contention that overwhelming evidence as to participation

undermines the jury’s answers to Question 2, is fundamentally flawed. Winn-Dixie

fails to accurately describe and explain the jury’s task and decision concerning

Question 2. To start, Question 2 did not ask the jury to determine whether each

individual EMMC member participated in the underlying conspiracy. Trial evidence

revealed that at various times, 29 different entities joined the EMMC. See Defense

Exhibit 64 (Chart of EMMC membership and resignations) attached hereto as

Addendum 2). However, only 16 of these 29 EMMC members were included in

Question 2 of the Verdict Form. Thus, the jury could have easily found that there

was an overarching conspiracy joined and participated in by one or more of the many

EMMC members who were not listed in Question 2 of the Verdict Form. Question 2

identified the following alleged participants: (1) the EMMC, (2) three defendants

alleged to be co-conspirators (C&C Carriage Mushroom Co., South Mill Mushroom

Sales, Inc., and To-Jo Fresh Mushrooms, Inc.) and (3) twelve former EMMC

member companies. The jury determined that the EMMC participated in the

conspiracy but the remaining defendants did not.               Thus, Winn-Dixie’s

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characterization of the jury’s verdict is incorrect and misleading. The jury did not

find, as Winn-Dixie puts it, “that the EMMC had participated in the conspiracy but

not a single EMMC member did . . . .” Winn-Dixie’s Opening Brief at p. 25. The

jury simply determined that, aside from the EMMC, no defendants identified within

Question 2 participated in the conspiracy. A2500. The jury rendered no decision

concerning the 17 EMMC members that were not identified on the Verdict Form.

Therefore, contrary to Winn-Dixie’s contention, the jury did not find that no EMMC

members participated in the conspiracy. For this reason alone, Winn-Dixie’s entire

argument is unavailing.

       Moreover, the verdict under review is supported by ample evidence. See

supra at p.13 n.3. This evidence supports the jury’s finding that none of the

defendants identified on the Verdict Form participated in the conspiracy. By way of

example, testimony of Gary Schroeder underscores why the jury found that none of

the listed defendants participated in the conspiracy. Mr. Schroeder explained that

while the EMMC members may have initially consented to a certain pricing rule

during EMMC meetings, their consent fell apart by the time he left the meeting and

got to his car. As he stated, “people would literally call driving home from the

meeting saying, wait a minute, I just realized that [the pricing] doesn’t fit this

scenario, or that scenario, whatever the case may be.” A1221-1222.



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       Evidence also revealed that the EMMC may have conspired with witnesses

who settled with Winn-Dixie prior to trial, such as Michael Cardile, or Robert

Ferranto Sr., whose company, Bella Farms, was dismissed at the close of evidence

at trial. Thus, the jury’s response to Question 2 was entirely plausible and supported

by the evidence.

       Winn-Dixie also argues that the jury’s answer to Question 4 (competitive

harm) was against the manifest weight of the evidence. Winn-Dixie argues that,

because the Defendants’ expert conceded that the Defendants had various

percentages of “market share” between 2001 and 2006, which was supported by

other testimony and documentary evidence, the jury’s response to Question 4 runs

contra to the weight of such evidence. See Winn-Dixie’s Opening Brief at pp 30-33.

       Winn-Dixie’s “weight of the evidence” argument fails because it is

undeniable that the jury’s response to Question 4 was supported by ample evidence

and, thus, there is no basis for this Court to find that such response “shocks the

conscience” or amounted to a “miscarriage of justice.” In other words, if there is

evidence supporting a jury’s finding or verdict, there simply cannot be a miscarriage

of justice that shocks the conscience of the trial judge.

       Moreover, Winn-Dixie overemphasizes defendants’ collective market share

evidence and mischaracterizes other evidence as being “undisputed” or “unrefuted.”

This is simply wrong. The District Court recognized that despite Winn-Dixie’s

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labeling of such evidence as “undisputed,” it “did not cut as clearly in its favor as

[Winn-Dixie] would have the Court believe” because “Defendants presented a

plausible version of events and introduced evidence to undermine Plaintiff’s

narrative, which the jury found credible.” A9. The District Court noted further that

the defendants’ expert criticized Winn-Dixie’s expert’s analysis and that when

“faced with the parties’ competing narratives and dueling experts’ mathematical

analyses and conclusions, the jury may well have believed Defendants’ explanations

and evidence rather than [Winn-Dixie’s].” A10. Winn-Dixie continues to ignore

the plethora of evidence that revealed the Defendants lacked market power given

their inability to raise prices for a sustained period of time, if ever. See supra at p.13

n.3. Indeed, the District Court found that “[Winn-Dixie’s] arguments do not rise

beyond merely wishing that the jury believed its side rather than Defendants’.” A10.

       At trial, Defendants’ expert commented on the market share issue and

explained that shortly after the organization was formed, members began to resign.

A1954-1955.         Then, year after year, more members resigned.           Thus, while

Defendants’ expert did acknowledge that Defendants’ market share was

approximately 90% in 2001 (A1955), he explained that their market steadily

declined as the group’s size shrank over the next five years. By 2005, the EMMC’s

market share was approximately 58% and by 2010, the Defendants’ market share

was under 20%. Id.

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       Defendants’ expert also explained that even where a group controls has

significant market share, that fact alone cannot demonstrate market power because,

“even a 100 percent market share might not be enough” to impact the market if the

group is not following “whatever rules the group has to manage prices.” (A1957).

Here, trial evidence revealed this was the case. Defendants lacked the ability to

uniformly or routinely follow the “rules” for various reasons. See supra at p.13 n.3.

       Testimony from multiple defendant company representatives established the

“rules” were, or could not be, followed because: (1) competition from non-EMMC

members, from within and outside the U.S., prevented the Defendants from

controlling the market; (2) retail sellers’ buying power prevented Defendants from

marketing product in accordance with minimum pricing; (3) mushroom perishability

afforded retail sellers vast buying power; (4) there was strong competition between

and among EMMC members and former EMMC members; (5) retail sellers

implemented buying procedures (auctions and reverse auctions) that prevented

adherence to minimum pricing; and (6) there were multiple exceptions to minimum

pricing rendering it ineffective. See supra at p.13 n.3.

       Moreover, empirical evidence established that when the minimum pricing

policy was in place, actual mushroom prices, as well as prices adjusted for inflation

trended down (see A1947-48, A1953) while at the same time, input costs (measured

by inflation) continued to rise. See A1935-36. Further, Winn-Dixie’s expert

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conceded that the purported Supply Control Plan (the other element of the alleged

single overarching conspiracy) had no effect on prices. A1598-99. The downward

trend of prices alone supports the jury’s finding in its answer to Question 4 and when

coupled with the trial evidence described above, establishes that regardless of the

EMMC’s market share, Defendants lacked the ability to successfully raise prices

above a supra-competitive level for a sustained time-period. The converse of this is

the very definition of market power as the District Court properly instructed the jury.

See A2459-61. In view of the foregoing evidence, the jury was justified in finding

that Winn-Dixie failed to meet it burden of establishing anticompetitive effects in

the relevant market.

      (C) Winn-Dixie’s Inconsistency Argument as to Question 2 Was Not
          Preserved because Winn-Dixie Did Not Raise this Argument before
          the Jury Was Discharged.
       Winn-Dixie failed to raise an inconsistency objection to the jury’s finding on

Question 2, membership participation (A2500), before the District Court discharged

the jury. A2481-83. In doing so, it forfeited its ability to raise this argument now.

See Frank C. Pollara Group, LLC, 784 F.3d at 191. In Pollara the defendant raised

the same argument that Winn-Dixie now advocates. There, the jury was asked to

decide the degree of fault for multiple defendants. The appellant argued that the

jury’s verdict was inconsistent because its finding with respect to one of the

defendants precluded a particular finding against another defendant. See id. at 189.

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By assigning different degrees of fault to different defendants, the appellant claimed

“the verdict was irreparably inconsistent.” Id. at 190. This Court refused to consider

this argument because, in this Circuit, where “a party fails to object to an

inconsistency in a general verdict before the jury is excused, that party waives any

objection in that regard.” Id. at 191.

       The holding announced in Pollara is directly on point here and precludes

further review of Winn Dixie’s substantive argument. The Winn-Dixie jury, after

receiving the District Court’s legal instructions, rendered a general verdict that

addressed, inter alia, whether any of the Defendants that remained in the case

participated in the conspiracy that it previously found to exist. 6 See Verdict Form

A2499 (finding the existence of a conspiracy) and Verdict Form A2500 (findings as

to participation in the conspiracy). When the jury returned its verdict, there were 16

defendants against whom the potential for liability existed. As previously discussed,

the liability of twenty other defendants was not at issue in this case, Winn-Dixie



6
  See Pollara Group, 784 F.3d at 190 (explaining the difference between a General
Verdict with answers to written questions pursuant to Fed. R. Civ. P. 49(b) and a
Special Verdict pursuant to Rule 49(a)). Apparently, there was some confusion
regarding this issue. The court originally entered judgment on March 23, 2022
(A7) based on each written question of the Verdict Form, but then entered an
amended judgment on June 13, 2022 (A11) after Winn-Dixie did not object to
Defendants’ Motion to Alter or Amend Judgment to reflect a general verdict. Dkt.
No. 498. Winn-Dixie’s lack of objection to this motion indicates that it consented
to the entry of a General Verdict. See also supra at p. 16 n .4

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asserts that in finding the EMMC participated in the conspiracy, while

contemporaneously finding none of the other listed defendants did, the jury’s verdict

is inconsistent. However, Winn-Dixie failed to raise this purported inconsistency

before the jury was discharged.        A2481-83. This failure results in a waiver

precluding this Court from considering the matter further. See Pollara Group,

784 F.3d at 191.

      (D) Even if Winn-Dixie’s Inconsistency Argument as to Question 2 was
          properly Preserved for Appellate Review, the Jury’s Answers to
          Question 2 were Internally Consistent and Consistent with the
          Jury’s Finding that there was an Overarching Conspiracy.
       As detailed above, see supra at Section I(B), Winn-Dixie’s contention that

the jury’s answers to Question 2 is fundamentally flawed. Contrary to Winn-Dixie’s

argument that the jury found that no EMMC members participated in the conspiracy,

it is obvious that the answers to Question 2 only related to the 16 remaining

defendants while there were many EMMC members (see Addendum 2) that did not

properly appear on the Question 2 of Verdict Form.

       Moreover, Winn-Dixie’s position that such answers were inconsistent misses

the mark. In support of its argument, Winn-Dixie directs this Court to a portion of

the charge dealing with a trade association’s potential liability (see Winn-Dixie’s

Opening Brief at p. 24). However, Winn-Dixie neglected to inform this Court about

the District Court’s charge that pertains to a member of a trade association’s potential

liability. That section reads:
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                A business that belongs to a trade association does not become
                liable for violating the antitrust laws simply because the trade
                association is liable for such violation. Instead, plaintiff must
                prove that the member of the trade association knew of and
                participated in the conduct you find unlawful. Identification of
                a particular Defendant’s membership or role in the organization
                is not sufficient to show that a particular Defendant agreed to the
                conspiracy itself.

                The Plaintiff contends that all Defendants engaged in similar
                conduct, namely setting prices in accordance with prices set forth
                in a series of price lists. The Plaintiff further contends that this
                conduct, when considered with other evidence, shows that a
                conspiracy existed among all Defendants.
                                   *              *           *
                However, if you find that Plaintiff has failed to satisfy its burden
                of proof as to each Defendant, that the Defendant participated in
                the conspiracy, you must return a verdict for that Defendant.

A2464-66. Winn-Dixie did not object to this instruction and thus, conceded the

District Court’s full instruction was proper. The jury concluded that while the

EMMC participated in the conspiracy, no other named defendants did. Verdict

Form -A2500. As charged, the jury rendered a rational verdict since the law

permits finding a trade association liable for conspiracy while, at the same time,

finding that none of the defendants listed in Question 2 of the Verdict Form

participated in the alleged conspiracy.




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       (E) Winn-Dixie failed to Preserve its Argument that the Jury did not
           follow the District Court’s Instructions pertaining to Questions 2
           and 4 because it did not file a Motion under Fed. R. Civ. P. 50(a),
           nor did it raise this Argument before the Jury was discharged.
       Winn-Dixie’s contention that the jury failed to follow the District Court’s

instructions on participation and anticompetitive effects is actually a disguised attack

on the sufficiency of the evidence that underlies the jury’s answers to Questions 2

and 4. As explained above, where a party fails to move under Rule 50(a), it waives

the right to claim entitlement to a new trial based on any attack to the sufficiency of

the the evidence at trial. See supra Section 1(A).

       Here, Winn-Dixie essentially argues that because there was “overwhelming”

evidence to establish both participation and anticompetitive effects, the jury did not

follow the District Court’s instructions as to these elements of its Sherman Act claim.

This position, while factually incorrect (see supra at p13. n.3), cannot now be

advanced because Winn-Dixie did not timely request judgment to be entered in its

favor under Rule 50(a). The basis that Winn-Dixie advances to argue that the jury

failed to follow the instructions at issue has been waived. See supra at Section 1(A).

       Winn-Dixie also argues that because the jury’s answers to Question 2 were

“inconsistent,” the jury failed to follow the District Court’s instructions as to

participation. Again, Winn-Dixie’s sole basis for this argument is that the evidence

as to participation, which it characterizes to be “overwhelming,” ostensibly fits

within the Greenleaf exception to the Yohannon rule as discussed above. However,
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as also discussed above and essentially found by the District Court, there was

sufficient evidence to support the jury’s finding in response to Question 2. Thus,

under this Court’s decision in Yohannon, Winn-Dixie failed to preserve this

argument. See supra at Section 1(A) Additionally, this argument is waived under

the Court rationale in Pollara requiring an appellant to raise an inconsistency in a

jury verdict before the jury is discharged. See supra at Section 1(C).

       (F) Even if Winn-Dixie Preserved this Argument there is No Evidence
           Supporting Winn Dixie’s Claim that the Jury did not Follow the
           District Court’s Instructions pertaining to Questions 2 and 4.
       As explained above, the foundation upon which Winn-Dixie asserts that the

Jury failed to follow the District Court’s instruction as to participation (Question 2)

is fundamentally flawed. See supra. at Section 1(B). Moreover, as detailed above,

the District Court charged the jury as to the burden of proof Winn-Dixie needed to

establish in order for the jury to find any individual EMMC member(s) participated

in the Sherman Act conspiracy.         See supra. at Section 1(D).       The evidence

developed at trial, when evaluated under this standard, supported the jury’s ultimate

findings that none of the remaining defendants, aside from the EMMC, participated

in the Sherman Act conspiracy.

       Winn-Dixie also asserts that the jury failed to follow the District Court’s

instruction on competitive harm because the Defendants’ market share alone,

compelled the jury conclude the defendants had market power. In essence,

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Winn-Dixie argues that because Defendants collectively held a substantial yet

declining market share for some period of time, the jury was obligated or required

to find the rule of reason’s “anticompetitive prong” was met. However, the jury

charge (as agreed to by Winn-Dixie at A2247) on competitive harm contained no

such directive. A2459-61. Rather, the charge actually informed the jury that it need

not find market power simply because the Defendants controlled a substantial share

of the market. Id.

       Defendants do not dispute that, in this Circuit, a plaintiff may satisfy the rule

of reason’s “anticompetitive effects” prong by proving the conduct under review

caused actual detrimental effects such as reduced output or increased prices. These

detrimental effects are known as “actual effects” or “market effects.” Defendants

also acknowledge that where proofs of “actual effects” or “market effects” cannot

be made, a plaintiff may submit “proofs of the defendant’s ‘market power’” to serve

as a “‘surrogate for detrimental effects.’” U.S. v. Brown Univ., 5 F.3d 658, 669-70

(3d Cir. 1993) (citations and quotation omitted). The fact that Defendants concede

these points does nothing to save Winn-Dixie’s appeal because the evidence

Winn-Dixie offered during trial fell well short of establishing:             (1) actual

anticompetitive effects or (2) Defendants’ market power.

       Market power, as the District Court instructed the jury without objection

(A2459-61), means having “an ability to profitably raise prices, for a sustained

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period of time, above those that would be charged in a competitive market.”

A2459-61 (emphasis added). As the Eleventh Circuit noted in Graphic Products.

Distributors. v. Intek Corp., 717 F.2d 1560, 1570 (11th Cir. 1983), a case Winn-Dixie

relies upon, “[m]arket power is the ability to raise price significantly above the

competitive level without losing all of one’s business.” (emphasis added).

       Multiple factors, including a party’s market share, need to be analyzed when

determining whether that party has market power. The District Court instructed the

jury that “market share” is an “important factor” to consider when determining if

“market power” exists. A2459-61. That factor alone, however, does not dispose of

the market power issue. Indeed, the District Court charged further, “[i]f Defendants

do not possess a substantial market share, it is less likely that Defendants possess

market power.” Id. This implies that where a defendant does control a substantial

market share, it is more likely that such defendant possesses market power. The use

of the word “likely,” however, informs the jury that it may find market power lacking

even where a defendant controls a substantial share of the market. If controlling a

substantial market share alone resolved the market power issue, surely the District

Court would not give this portion of the instruction. Winn-Dixie failed to object to

this instruction and, therefore, conceded that the charge accurately reflects the law

on competitive harm.



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       The case law Winn-Dixie cites does not support the contention that a new trial

is warranted. In Gordon v. Lewiston Hospital, 423 F.3d 184, 212-13 (3d Cir. 2005),

following a bench trial, the District Court determined that the defendant lacked

market power because its market share was simply too low. On appeal, the Third

Circuit applied the clearly erroneous standard and simply found defendant’s “market

share [was] insufficient to prove market power.” Id. Gordon in no way sets forth a

bright line above which a certain market share may evidence market power.

       The District Court of New Jersey’s unreported opinion in Debjo Sales, Inc. v.

Houghton Mifflin Harcourt Publishing Co., 2015 WL 1969380 (D.N.J. 2015)

similarly does not aid Winn-Dixie’s argument. That decision involved whether the

plaintiff’s amended complaint alleged viable causes of action premised on alleged

Sherman Act violations. The District Court ultimately held it did not. See id. at *9.

Before reaching that decision, the District Court noted “[b]ecause the effect of

market share on market power varies from industry to industry, [the court] cannot

conclude at this stage that 38% market share is insufficient to plead market power.”

Id. at 5. The Debjo case, at best, stands for the proposition that where a complaint

avers a defendant controls 38% market share, it adequately pleads the existence of

market power. It in no way mandates that a jury be compelled to find the existence

of that defendant’s market power based on any market share percentage. Indeed, as



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the Debjo court recognized, the effect a party’s market share has on market power

varies from industry to industry. Id.

       In the instant case, the jury concluded that Winn-Dixie did not satisfy the

“anticompetitive prong.”       It is entirely plausible that the jury determined the

Defendants did not have sufficient market power, as defined by the District Court,

irrespective of their market share percentages. This is true because to find the

existence of market power, the jury was required to find that the Defendants had the

“ability to profitably raises prices, for a sustained period of time,” above competitive

levels. There was ample record evidence establishing this not to be the case. See

supra at p.13 n.3. Thus, the relevant inquiry is not the Defendants’ market share

percentages as Winn-Dixie posits. Rather, the relevant inquiry is whether the

defendants had the ability to charge supra-competitive prices for a “sustained period

of time.” Here, the evidence clearly showed that defendants were not able to achieve

a sustained price increase. See supra at pp. 26-28 (summarizing expert testimony

discussing defendants lack of market power), see also supra at p.13 n.3. Indeed, as

noted by the District Court “[F]aced with the parties’ competing narratives and

dueling experts’ mathematical analyses and conclusions, the jury may well have

believed Defendants’ explanations and evidence rather than Plaintiff’s.” A9-10.

       Winn-Dixie also relies on four out-of-circuit decisions (Reazin v. Blue

Cross & Blue Shield, 899 F.2d 951 (10th Cir. 1990), Wilk v. Am. Med. Ass’n,

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895 F.2d 352 (7th Cir. 1990), Graphics Prods. Distribs. V. Itek Corp., 717 F.2d

1560 (11th Cir. 1983), and Barrett v. Fields, 924 F. Supp. 1063 (D. Kan. 1996)) in

support of its market share argument. See App. Br. 15, 29-30. These cases actually

make clear that market share alone does not establish market power.

       In Reazin, the Tenth Circuit specifically noted, “[m]arket share is relevant to

the determination of the existence of market or monopoly power, but ‘market share

alone is insufficient to establish market power’” having recognized that “[i]t may or

may not reflect actual power to control price or exclude competition.” Reazin,

899 F.2d at 967 (quotation and citations omitted) (emphasis in original).

       In both Wilk and Graphic Products Distributors, market power was found to

exist, given the defendants’ market share percentages as well as other factors. See

Wilk, 895 F.2d at 360 (identifying “several facts” that demonstrated the defendant’s

market power), see also Graphics Prods. Distribs., 717 F.2d at 1570 (noting

evidence of defendant’s market share and evidence of product differentiation

supported finding of market power). Hence, in neither Reazin, Wilks, nor Graphic

Products Distributors was market power established through market share alone.

       Finally, the District Court of Kansas’ decision in Barrett bears no significance

to Winn-Dixie’s appeal. There, the District Court merely held that the trial evidence

supported the jury’s finding of market power.          Barrett, 924 F.Supp. at 1075.

However, the jury’s finding of market power in Barrett does not somehow reveal

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juror confusion in the present matter. Here, the jury was properly instructed on the

elements of market power, and, hearing no objection from Winn-Dixie, proceeded

to deliberate and, in doing so, was required to consider whether Defendants had the

ability to charge supra-competitive prices for a “sustained period of time.” Ample

evidence adduced at trial supported the finding that Winn-Dixie failed to establish

“actual effects” and “market power.” See supra. at Section 1(B). Since Winn-Dixie

could not make either of these showings, the jury correctly determined that the

alleged conduct was not anticompetitive.

       Thus, Winn-Dixie’s arguments that the jury somehow failed to follow the

instructions pertaining to Questions 2 and 4 is unavailing, as the District Court noted

in its opinion denying Winn-Dixie’s Rule 59 motion on the grounds that the jury

failed to follow the instructions pertaining to these questions. A9-10.

  II. WINN-DIXIE WAIVED OR DID NOT PRESERVE ITS
      CHALLENGE TO THE DISTRICT COURT PRE-TRIAL RULING
      ON THE APPLICATION OF THE QUICK LOOK RULE OF
      REASON ANALYSIS AND IN ANY EVENT, THE DISTRICT
      COURT CORRECTLY DENIED WINN-DIXIE’S MOTION.

      (A) Winn-Dixie did not Preserve its Argument on the Application of the
          Quick Look Mode of Antitrust Analysis for Appellate Review and
          Winn-Dixie Effectively Abandoned its Quick Look Argument by not
          timely Objecting to the Traditional Rule of Reason Instruction
          Given by the Court.
       The District Court instructed the jury under the traditional, full blown, rule of

reason analysis regarding the overarching conspiracy A2459-61. The court also

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designed a Verdict Form including Question 4 asking the jury whether Winn-Dixie

met its burden of proof regarding the anticompetitive effects of the overarching

conspiracy. Significantly, Winn-Dixie did not request a jury instruction tailored to

the Quick Look mode of analysis. See Jury instructions submitted by Winn-Dixie

at Dkt. No. 438. Nor did it object to the jury instruction given by the Court. Nor

did Winn-Dixie object to the Verdict Form insofar as it included Question 4. A2298.

Moreover, Winn-Dixie did not make a motion for a directed verdict under Rule 50(a)

essentially renewing its pre-trial arguments as to the application of the Quick Look

mode of analysis. Under these circumstances, Winn-Dixie waived or failed to

preserve this issue for appellate review. Moreover, it appears that that Winn-Dixie

effectively abandoned its arguments as to the application of the Quick Look mode

of analysis by failing to properly object or assign error to the court’s jury

instructions.

       Winn-Dixie’s ability to appeal from the District Court’s pre-trial ruling is

stymied by this court’s holding in Pollara Group, 784 F.3d at 177, following the

Supreme Court’s holding in Ortiz v. Jordan requiring that a party must preserve its

argument on a pre-trial ruling involving mixed questions of law and fact by including

this argument in a rule 50(a) motion before the jury is instructed.        However,

Winn-Dixie did not make such a motion. The Pollara court held that:



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       “In light of Ortiz, it is clear that if an earlier dispositive argument is not
       renewed through motions for judgement as a matter of law under
       Rule 50(a) and Rule 50(b) the litigant propounding the argument may
       not seek appellate review of a decision rejecting it unless that argument
       presents a pure question of law that can be decided with reference only
       to undisputed facts.” Id. at 187.

The Pollara Court went on to explain that:

       “While we are mindful that ‘it would be unfair to require a litigant to
       jump up and down or to labor an objection’ that is already part of the
       record, it is not unfair to make a litigant deal with the full record. Again,
       “once the case proceeds to trial, the full record developed in court
       supersedes the record existing at the time of the summary judgment
       motion. Insofar as an issue has a factual component, the failure to raise
       the issue in motions for judgment as a matter of law at and after trial
       makes it inappropriate for an appellate court to address, what should
       have been addressed to the judge who saw and heard the witnesses and
       had the feel for the case which no appellate printed transcript can
       impart.” Id.

       Here, it is clear the District Court’s ruling had factual components. It is

equally clear that Winn-Dixie did not raise this issue in the District Court by

including it in a Rule 50(a) motion—or including it its Rule 50(b) motion—or in its

motion for a new trial under Rule 59. Thus, we submit that Winn-Dixie did not

properly preserve this issue for appellate review.

       Further, Winn-Dixie abandoned its Quick Look argument since it did not

request a jury instruction under the Quick Look mode of analysis and did not object

to the trial court’s instruction under the traditional rule of reason mode of analysis.

Rule 51(c) requires a party to timely object to a jury instruction. Here, Winn-Dixie

did not do so either before or after the traditional rule of reason instruction was given.
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Rule 51(d) (2) provides that a court may consider a plain error in jury instructions in

the absence of an objection to the instruction if the error affects substantial rights.

However, it cannot be said that the full rule of reason instruction given by the court

was clearly erroneous or was not supported by substantial evidence. Thus, the

instruction did not lead to a manifest injustice.

       (B) The District Court’s Pre-Trial Ruling Deciding a Mixed Question of
           Law and Fact was Correct.
       Winn-Dixie appeals from a pre-trial order entered by the District Court shortly

before trial denying its motion to apply the Quick Look rule of reason analysis to the

EMMC minimum pricing policy.           The court noted that the Quick Look mode of

antitrust analysis is “‘an abbreviated…analysis under the rule of reason’ that can be

applied when ‘an observer with even a rudimentary understanding of economics

could conclude that the arrangements in question would have an obvious

anticompetitive effect on customers and markets.’” A17 citing Cal. Dental Ass’n. v.

FTC, 526 U.S. 756, 770 (1999).7 If the Quick Look mode of analysis was applied


7
   See also Deutscher Tennis Bund v. ATP Tour, Inc., 610 F 3d 820 (3d Cir. 2010).
Under the traditional or full blown rule of reason analysis “‘the plaintiff has the
initial burden under the rule of reason of showing that the alleged combination or
agreement produced adverse, anticompetitive effects within the relevant product
and geographic markets…[i]f a plaintiff meets his initial burden…the burden shifts
to defendant to show that the challenged conduct promotes a sufficiently
pro-competitive objective. To rebut, the Plaintiff must demonstrate that the
restraint is not reasonably necessary to achieve the stated objective.”’ quoting
Brown Univ., 5 F.3d at 669).

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by the District Court it would have relieved Winn-Dixie of its initial burden to show

that the overarching conspiracy in this case produced adverse economic effects

within the relevant product and geographic markets.8

       In its Order of February 10, 2022, the District Court correctly determined that

the Quick Look mode of rule of reason analysis did not apply to the then apparent

facts of this case. A16-17. The court essentially found that the Quick Look mode

of analysis is inappropriate in this case because the “effects of the minimum pricing

policy are not ‘obviously or facially anticompetitive,’” citing, Food Lion, LLC v.

Dean Foods Co. 2016 WL 1259959 at *4 (E.D. Tenn. Mar. 30, 2016). The District

Court also noted that the EMMC provided empirical analysis by an expert witness

[Dr. David] “that the supply of mushrooms may have increased and the price of

mushrooms may have decreased as a result of the minimum pricing policy.” A17.

The court also referred to a ruling in—In re Processed Eggs Antitrust Litig., 206 F.

Supp. 3d. 1043, 1047 (E.D. Pa. 2016), holding that the Quick Look mode of analysis,

“is not appropriate where [as here] ‘empirical analysis is required to determine [the]



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  As asserted by Winn-Dixie, the overarching conspiracy included both the
EMMC minimum pricing policy and the so called supply control program (See
A2499 (Verdict Form, Question 1), Winn-Dixie’s expert witness conceded at trial,
however, that the supply control program did not have any anticompetitive effects
in the relevant markets. A1598-99. Moreover, Winn-Dixie did not object to the
District Court’s jury instruction that the entire overarching conspiracy should be
decided under the rule of reason. A2247, A2459-61.

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challenged restraint’s net competitive effect.’” Finally, the court noted that the

alleged conspiracy involved “a complex relationship among numerous parties with

varying market roles.” (citing Food Lion at *4, on remand from In re Se, Milk

Antitrust Litig., 739 F. 3d 262, 275-76 (6th Cir. 2014). Thus, the district

court’s pretrial ruling—involving mixed questions of law and fact—was correct

when it was made.

 III. THE DISTRICT COURT PROPERLY EXERCISED ITS
      DISCRETION IN ADMITTING EVIDENCE RELEVANT TO THE
      DEFENDANTS’ SIZE, PROFITABILITY AND FINANCIAL
      CONDITION FOR PURPOSES OTHER THAN ARGUING
      PROCOMPETITIVE BENEFITS AND COUNSEL DID NOT
      ENGAGE IN ANY MISCONDUCT IN ELICITING THIS EVIDENCE
      NOR WAS THE EVIDENCE REASONABLY LIKELY TO
      INFLUENCE A FINDING THAT THE JURY DID NOT HAVE TO
      MAKE.
       Winn-Dixie claims that it is entitled to a new trial because the EMMC

Defendants and their counsel made “repeated references to the purpose of the

EMMC and its minimum pricing as saving farms and decreasing losses” which

contravened the District Court’s in limine ruling excluding arguments that

“‘increased producer prices, increased producer profits, decreased producer losses,

or helping firms stay in operation are valid pro-competitive benefits under the rule

of reason’” at trial. See Winn Dixie’s Opening Brief at p. 43. Winn-Dixie further

claims that the introduction of “the improper statements confused the jury and lead

to the inconsistent verdict.”

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       Winn Dixie’s Opening Brief at p. 47. Both claims fail for the reasons

discussed below.

       Winn-Dixie’s two-pronged argument has no merit. First, with respect to the

motion in limine, Winn-Dixie relies upon the District Court’s Order that the EMMC

could not argue that certain factors were valid pro-competitive benefits under the

rule of reason and not that all such evidence was precluded from trial for any

purpose. A16. Second, any references to the above language set forth in the District

Court’s Order made by the EMMC Defendants or their counsel was not made for the

purpose of establishing valid pro-competitive benefits under the rule of reason at

trial. Thus, it did not violate the Order. Trial testimony and argument relating to

the EMMC Defendants’ profits, losses and inability to stay in operation were made

for other purposes, including why certain EMMC Defendants decided to join the

organization and showing that the EMMC Minimum Pricing Policy, which was the

cornerstone of Winn-Dixie’s case at trial, simply did not work. This evidence was

expressly permitted based on the District Court’s Order on a motion in limine that

Winn-Dixie curiously omitted from its Brief. A18 at ¶10.

       Moreover, the District Court gave a clear jury instruction regarding

procompetitive benefits. A 2461-62. Winn-Dixie also fails to mention that the jury

did not even reach Question 5 on the Verdict Form that would have required the jury



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to consider whether the overarching conspiracy included any pro-competitive

benefits. Verdict Form. See Verdict Form, at Question 5. A2503.

       This Circuit reviews requests for a new trial based on attorney misconduct for

abuse of discretion. Greenleaf, 174 F.3d at 363 citing, Blanche Road Corp. v.

Bensalem Township, 57 F.3d 253, 264 (3d Cir.1995); Fineman v. Armstrong World

Indus. Inc., 980 F.2d 171, 207 (3d Cir.1992). “This is because we recognize that

“[i]n matters of trial procedure . . . the trial judge is entrusted with wide discretion

because he [or she] is in a far better position than we to appraise the effect of the

improper argument of counsel.” Id. (citations omitted). A new trial may be granted

only where the improper statements “made it ‘reasonably probable’ that the verdict

was influenced by prejudicial statements.” Id. at **363-64, citing, Draper v. Airco

Inc., 580 F.2d 91, 94 (3d Cir. 1978).

       In an attempt to shoehorn the foregoing facts into a claim of attorney

misconduct, Winn-Dixie improperly twists the language in the District Court’s

Order regarding one motion in limine and fails to even acknowledge the language in

a second Order regarding a different motion in limine. The District Court issued

these two Orders on the same day. The Order that Winn-Dixie relies upon is based

on a motion the Court granted “for substantially the same reasons” as was set forth

in an Order on a motion in limine in an earlier opt out case against the EMMC



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Defendants. A16. In its Brief, Winn-Dixie cites to the language of the Order that

states, in pertinent part:

                “[T]he Sherman Act does not permit defendants to justify
                anticompetitive behavior by arguing that the behavior forestalls
                certain negative consequences where those consequences are the
                result of competition . . . .the EMMC will not be permitted to
                argue that increased producer prices, increased producer profits,
                decreased producer losses, or helping firms stay in operation are
                valid pro-competitive benefits under the rule of reason.
                (emphasis added).

       The District Court ordered that counsel for the EMMC Defendants could not

argue that the above factors were pro-competitive benefits in support of a defense at

trial. Defense counsel never made this argument at trial. Rather than acknowledge

this fact, Winn-Dixie attempts to manipulate the language of the Order, as well as

the trial transcript, to claim that the Order was somehow violated.

       Winn-Dixie does not inform this Court that the District Court entered another

Order on a motion in limine that must be considered in the pro-competitive benefits

context. The District Court entered the following Order:

                Winn-Dixie’s Motion In Limine to Preclude Evidence and
                Arguments of General Financial Condition (Dkt. 384) is
                GRANTED in part and DENIED in part. The Court agrees
                with the parties that evidence of the parties’ sizes, profitability,
                and financial conditions is not admissible for the purpose of
                showing whether Winn-Dixie should or should not receive a
                judgment in its favor. (See Dkt. 384 at 4; Dkt. 389 at 1.) Such
                Evidence is irrelevant and could be highly prejudicial. See Fed.
                R. Evid. 401-03. Accordingly, the Motion is granted with respect
                to that purpose. Subject to objections at trial, the Court will
                allow the parties to introduce arguments and evidence
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                related to the parties’ size, profitability, and financial
                conditions for other proper purposes. (Emphasis added). A18

       Winn Dixie cites to only one instance of witness testimony which it complains

violated the District Court’s Order regarding pro-competitive benefits. On Day 2 of

the trial, counsel for Winn-Dixie called John Pia, owner and President of one of the

EMMC Defendants, as a witness in its case and questioned him about an email

Mr. Pia had written when he was President of the EMMC. In response, Mr. Pia

offered reasoning as to why the EMMC was formed. A302-03. Mr. Pia’s statements

did not relate to any purported pro-competitive benefits concerning the challenged

restraints and thus, in no way relate to (or violate) the District Court’s prior ruling.

Days later, Winn-Dixie’s counsel lodged a general complaint during a sidebar

conference relating to witness testimony elicited during its case-in-chief. According

to Winn-Dixie, witnesses were offering “out of bounds” testimony. Specifically, it

argued that witnesses are precluded from testifying about the general financial

condition of their respective companies based on the District Court’s in limine ruling

that precluded argument concerning certain purported pro-competitive benefits. The

District Court rejected the argument stating the challenged testimony was “not out

of bounds.” A1013-14.

       It was clear that, in the Court’s view, Winn-Dixie counsel did not remember

the Court’s other in limine ruling quoted above that allowed evidence relating to the

defendants’ size, profitability and financial condition for other proper purposes.
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       Moreover, immediately after the recess following the sidebar conference, the

District Court further clarified the basis for it admission of evidence relevant to

issues other than pro-competitive benefits.

                “With respect to the procompetitive benefits, the motion in
                limine ruling held that the EMMC was not permitted: ‘To argue
                that increased producer prices increased producer profits,
                decreased producer losses, or helping firms stay in business are
                valid procompetitive benefits,’ with respect to the minimum
                pricing policies under the rule of reason. The testimony we’ve
                heard so far referencing why firms joined the EMMC has no
                bearing on the procompetitive benefits step of the rule of
                reason analysis for minimum pricing.” A1016 (emphasis added)

       Winn-Dixie further claims that the EMMC Defendants and defense counsel

not only ran afoul of the Court’s motion in limine Order but that it is “reasonably

probable” that the admission of procompetitive benefits testimony or argument lead

to jury confusion and an inconsistent verdict. Winn-Dixie does not articulate what

specific testimony or argument allegedly resulted in jury confusion. Winn-Dixie’s

Opening Brief at p.47. Likewise, Winn-Dixie fails to explain how such evidence or

argument could have possibly resulted in an inconsistent verdict, especially because

the jury never reached the pro-competitive issue. A2503.             For this reason,

Winn-Dixie’s jury confusion and inconsistent verdict argument should be rejected

out of hand.

       Moreover, the District Court instructed the jury on what did and did not

constitute a procompetitive benefit. Prior to the jury charge, and as Winn-Dixie

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points out in its Brief, there was a lengthy discussion engaged in by the Court and

counsel for all parties regarding whether a procompetitive jury charge should be

given and, if so, what language should be included in same. A2248-2258. The jury,

quite obviously, was not privy to counsel’s argument regarding this instruction and

had only the actual jury instruction from the Court to rely on with respect to

procompetitive benefits. The District Court instructed the jury that:

                If you find that Plaintiff has proven the challenged restraints
                resulted in substantial harm to competition in a relevant market,
                you must determine whether the restraint also benefits
                competition in other ways. The Defendants bear the burden of
                showing procompetitive benefits. In considering whether the
                challenged restraint benefitted competition, you may consider
                various factors, including but not limited to increase production,
                increased consumer choice, increased service, decreased prices,
                or improved product quality. You may not consider increased
                producer prices, increase[d] producer profits, decreased
                producer losses, or helping firms stay in operation as
                procompetitive benefits. (emphasis added). A2461-62.
       The District Court specifically instructed the jury that it could not consider

the fact that EMMC Defendants were struggling financially or going out of business

as a procompetitive benefit. Therefore, any confusion Winn-Dixie claims occurred

during trial, which defendants dispute, was cured by the District Court’s jury charge.

Winn-Dixie did not object to this charge as being insufficient in any way during the

charge conference or after it was read to the jury. This Court should thus reject

Winn-Dixie’s unsupported claim.


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       Finally, Winn-Dixie’s reliance on Waddington North American, Inc. v. Sabert

Corporation, 2011 U.S. Dist. LEXIS 86632 (D.N.J. Aug. 5, 2011) is misplaced. The

Court ordered a new trial because of the egregious misconduct of defense counsel at

trial. With respect to attorney misconduct at trial, Waddington is a true outlier case

and inapposite to the facts present here. That Court cited a list of counsel misconduct

which included: introducing favorable foreign patent proceedings which the Court

had excluded pretrial and sustained objections as to its introduction at trial; making

arguments relating to a claim that had been dismissed pretrial and declared by the

Court as irrelevant at trial; making “without batting an eyelash” a noninfringement

argument the Court had rejected and ordered improper to the jury; using an improper

and prejudicial visual aid during closing argument; and continuously disregarding

the Court’s instructions regarding leading questions, undermined the jury’s role in

determining the credibility of witnesses, repeatedly asked leading questions of

friendly witnesses and continuously made misstatements of patent law. **6-19. The

Court observed that:

                The violations were egregious and they were made far worse by
                the fact that in committing these violations [counsel] repeatedly
                ignored the Court’s rulings. The Court has seldom had an
                attorney before it who had as much difficulty in following the
                Court’s orders and rulings. A trial is not the Old West. There
                are rules, and attorneys are expected to follow them.

                The Court cannot reward a litigant who manifestly disregards
                those rules and express rulings of the Court based on either the

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                effectiveness of opposing counsel or the proper instructions of
                this Court. *6.

Counsel in the Waddington case willfully and egregiously disobeyed the Court’s

orders made prior to and at trial. The Court ordered a new trial because “[t]o hold

otherwise would encourage the use of deliberately crafted misconduct and improper

litigation tactics to influence a jury’s verdict.” *20. Defense counsel in this case did

not engage in any such conduct.

       On the basis of the foregoing facts, it is clear that the District Court did not

abuse its discretion in making the evidentiary rulings at issue. Thus, there could not

have been misconduct by defense counsel in eliciting this evidence for a purpose

other than arguing pro-competitive benefits. Moreover, it cannot be said that this

evidence was reasonably probable to have influenced the jury’s verdict since the

District Court instructed the jury that the specific circumstances identified in its pre

trial order were not pro-competitive benefits. Finally, it was not necessary for the

jury to consider pro-competitive benefits resulting from the overarching conspiracy

(Question 5 on the Verdict Form) because in its answer to Question 4, it found that

Winn-Dixie did not meet its initial burden of showing that the overarching

conspiracy had anticompetitive effects in the relevant product and geographic

markets.




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                                    CONCLUSION
       For the foregoing reasons, the Amended Judgment entered by the District

Court on June 13, 2022 should be affirmed.



                                            Respectfully Submitted


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                                            Mushroom Farms, Inc., South Mill
                                            Mushroom Sales, Inc., Louis M. Marson Jr.
                                            Inc., Modern Mushroom Farms, Inc,
                                            Oakshire Mushroom Farm, Inc., C&C
                                            Carriage, Inc. Phillips Mushroom Farms,
                                            Inc., and Monterey Mushroom Farms, Inc.




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                              CERTIFICATE OF ADMISSION
        We hereby certify that we are members in good standing of the Bar of the

United States Court of Appeals for the Third Circuit.


Dated: December 7, 2022

                                                   /s/ William A. DeStefano
                                                   William A. DeStefano



                                                   /s/ Terri A. Pawelski
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                             CERTIFICATE OF COMPLIANCE
       I hereby certify that Appellee’s Brief complies with the type and volume

limitations of Fed. R. App. P. 32 as this Brief contains 12,615 words excluding parts

of the Brief excluded by the aforesaid Rule of Appellate Procedure This Brief further

complies with the aforesaid Rules as it contains proportional 14-point Times New

Roman typeface using Microsoft Office 365 Version 2209.

       Appellees’ Brief complies with the electronic filing requirements of this Court

because electronically file copy of same is identical to the paper copies and no

viruses have been detected in the electronically filed version of the Brief using

SentinelOne Agent, Version 22.1.5.11025.


Dated: December 7, 2022



                                                   /s/ William A. DeStefano
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                       CERTIFICATE OF FILING AND SERVICE
        I hereby certify that on this seventh day of December, 2022 the foregoing

Appellees’ Brief was filed and served upon counsel for all parties to this Appeal

through the Court’s ECF system.


Dated: December 7, 2022



                                                  /s/ William A. DeStefano
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